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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

TANNER BOOKER,

       Plaintiff,

v.                                                        Case No. 23-cv-0018-WJ-KRS

P.A.M TRANSPORT, INC.,
AND IAN MURIUKI MWANGI,

       Defendants.

                ORDER EXTENDING ALL OTHER MOTIONS DEADLINE

       THIS MATTER having come before the Court upon the Parties’ Joint Motion to Extend

All Other Motions Deadline, filed on October 17, 2023 [Doc. 156], and the Court finds there is

good cause to extend the existing deadline as follows:

       1.       Deadline for all other motions: May 20, 2024. This deadline applies to motions

       related to the admissibility of experts or expert testimony that may require a Daubert

       hearing, but otherwise does not apply to motions in limine. The Court will set a motions

       in limine deadline in a separate order.




                                                    THE HONORABLE KEVIN R. SWEAZEA
                                                    UNITED STATES MAGISTRATE JUDGE


Submitted by:

 /s/ Jane R. Elliott
Deena L. Buchanan
Jane R. Elliott
Buchanan Law Firm, LLC
5345 Wyoming Blvd. NE, Suite 202
Albuquerque, NM 87109
Tel: 505-900-3559
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Fax: 505-933-7551
deena@dbuchananlaw.com
jane@dbuchananlaw.com
Attorneys for Plaintiff


and

Maxey M. Scherr
SCHERR LAW FIRM, PLLC
521 Texas Ave.
El Paso, Texas 79901
(915) 881-4111
(915) 881-4119
mscherr@scherrlawfirm.com
Attorneys for Plaintiff



Approved by:

 Approved via email 10/17/23
Megan Day Hill
CIVEROLO, GRALOW & HILL, P.A.
P.O Box 93940
Albuquerque, NM 87199
505-842-8255
hillm@civerolo.com
Attorneys for Defendants




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